UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK,                                                     :
                                                                       :
                                     Plaintiff,                        :     20-CV-1127 (JMF)
                                                                       :
                  -v-                                                  :
                                                                       :
CHAD F. WOLF, in his official capacity as Acting                       :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
R. L’HEUREUX LEWIS-MCCOY et al., on behalf of                          :
themselves and all similarly situated individuals,                     :
                                                                       :     20-CV-1142 (JMF)
                                     Plaintiffs,                       :
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
CHAD WOLF, in his official capacity as Acting                          :
Secretary of Homeland Security, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       Earlier today, the Department of Homeland Security announced that it “will lift its ban on
the Trusted Traveler Program (TTP) for New York residents.” July 23, 2020 Press Release,
available at https://www.dhs.gov/news/2020/07/23/new-york-amends-dangerous-green-light-
law-cooperate-federal-law-enforcement-dmv. No later than July 28, 2020, counsel shall confer
and advise the Court what effect that announcement has on these cases, including whether or
when they should be dismissed as moot.

        SO ORDERED.

Dated: July 23, 2020                                       __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
